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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Nelson Gonzalez
                                  Plaintiff,
v.                                                    Case No.: 1:23−cv−14281
                                                      Honorable LaShonda A. Hunt
Reynaldo Guevara, et al.
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 8, 2024:


        MINUTE entry before the Honorable LaShonda A. Hunt: Telephonic motion
hearing held. Counsel for Plaintiff and Counsel for Defendants appeared. For the reasons
stated on the record, Defendants' Joint Motion to Bifurcate Plaintiff's Monell Claim and to
Stay Monell Discovery [77] is denied without prejudice. As discussed, the parties are
encouraged to work cooperatively to streamline discovery and narrow issues to efficiently
manage all discovery. Emailed notice. (cdh, )




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